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                  IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

 BETTY ADAMS, SHAKENA ADAMS,
 KENNETH ANDERSON, QUAYUANNA                           Case No. 1:20-cv-03411
 BILLS, JENNIFER BORKOWSKI,
 BARBARA BREWER, SYLVIA                                Honorable Charles P. Kocoras
 DEMETROULAKOS, PATRICK DUKES,
 CHARLES EVANS, and ALEX MATURANI,                     Magistrate Judge Heather K. McShain

                         Plaintiffs,

         v.

 SANTANDER CONSUMER USA, INC., an
 Illinois corporation,

                         Defendant.


                              JOINT NOTICE OF SETTLEMENT

        Plaintiffs Betty Adams, Shakena Adams, Kenneth Anderson, Quayuanna Bills, Jennifer

Borkowski, Barbara Brewer, Sylvia Demetroulakos, Patrick Dukes, Charles Evans, and Alex

Maturani and Defendant Santander Consumer USA, Inc., by and through their respective

attorneys, hereby provide notice to the Court that the parties have reached a settlement in

principle that will fully resolve this matter. Once finalized, the parties will file a stipulation of

dismissal.

                                                Respectfully submitted,

                                                BETTY ADAMS, SHAKENA ADAMS,
                                                KENNETH ANDERSON, QUAYUANNA
                                                BILLS, JENNIFER BORKOWSKI, BARBARA
                                                BREWER, SYLVIA DEMETROULAKOS,
                                                PATRICK DUKES, CHARLES EVANS, and
                                                ALEX MATURANI,

Dated: September 15, 2020                       By: /s/ Schuyler Ufkes

                                                Benjamin H. Richman



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                                     Counsel for Plaintiffs


                                     SANTANDER CONSUMER USA, INC.,

Dated: September 15, 2020            By: /s/ Jamie D. Wells (with authorization)

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                                     Santander Consumer USA Inc.




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